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                                                                   ^ 0CT312W9 *
                                                                   BROOKLYN OFBCE




                        &XRPDUPLICATE

                        Court Name: Eastern District of New York
                        Division: 1
                        Receipt Number; 4653145043
                        Cashier ID: vjones
                        Transaction Date: 10/31/2019
                        Payer Name: Steven B. Barger
                         NOTICE OF APPEAL/DOCKETING FEE
                         For: Steven B. Barger
                          Case/Party: D-NVE-1-17-C\/-004869-001
                          Amount:        $505.00

                         PAPER CHECK CONVERSION
                          Arat Tendered: $505.00
                         Total Due:      $505.00
                         Total Tendered: $505.00
                         Change Amt:     $0.00
